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     888 SW Fifth Avenue, Suite 1600
10   Portland, OR 97204-2099

11           Attorneys for Debtors

12

13                               UNITED STATES BANKRUPTCY COURT
14                                        DISTRICT OF OREGON
15   In re                                                       Case No. 19-62584-pcm11
16   NORPAC Foods, Inc.,
17                                   Debtor.
18
     In re                                                       Case No. 19-33102-pcm11
19
     Hermiston Foods, LLC,
20
                                     Debtor.
21
     In re                                                       Case No. 19-33103-pcm11
22
     Quincy Foods, LLC,                                         DEBTORS’ MOTION FOR ORDER
23                                                              DETERMINING ADEQUATE
                                     Debtor.                    ASSURANCE TO UTILITY
24                                                              COMPANIES
25                                                               EXPEDITED HEARING REQUESTED
26

Page 1 of 5 - DEBTORS’ MOTION FOR ORDER DETERMINING ADEQUATE ASSURANCE
              TO UTILITY COMPANIES
                                                   Tonkon Torp LLP
                                               888 SW Fifth Ave., Suite 1600
                                                    Portland, OR 97204
                                                      503.221.1440
                             Case 19-62584-pcm11              Doc 9            Filed 08/22/19
 1                  Debtors and Debtors-in-Possession NORPAC Foods, Inc. (“NORPAC”),

 2   Hermiston Foods, LLC (“Hermiston Foods”), and Quincy Foods, LLC (“Quincy Foods”)

 3   (together, “Debtors”) move this Court for entry of an order determining adequate assurance of

 4   postpetition payments to utility companies; prohibiting utility companies from altering, refusing,

 5   or disconnecting service on account of prepetition invoices; and establishing procedures for

 6   resolving subsequent requests, if any, for additional adequate assurance of payment by the utility

 7   companies. In support of this Motion, Debtors incorporate the statements contained in the

 8   Declaration of Winston Mar in Support of First Day Pleadings (“Mar Declaration”) filed

 9   contemporaneously herewith, and further respectfully state as follows:

10                  1.      On August 22, 2019 (the “Petition Date”), Debtors filed voluntary

11   petitions for relief under Chapter 11 of Title 11 of the United States Code.

12                  2.      Debtors have continued in possession of their property and are continuing

13   to operate and manage their business as debtors-in-possession pursuant to Sections 1107(a) and

14   1108 of Title 11 of the United States Code.

15                  3.      No request has been made for the appointment of a trustee or examiner,

16   and no official committee of unsecured creditors has been appointed in Debtors’ cases at this

17   time.

18                  4.      The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157

19   and 1334. Venue is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409. This is a

20   core proceeding pursuant to 28 U.S.C. § 157(b)(2).

21                  5.      NORPAC, a farmer-owned cooperative, along with its wholly-owned

22   subsidiaries Hermiston Foods and Quincy Foods, is the largest independent, standalone

23   processor of high-quality organic and conventional frozen vegetables and fruits in the Pacific

24   Northwest. NORPAC owns raw processing plants in Brooks, Oregon, and Stayton, Oregon, a

25   packaging plant and corporate headquarters building in Salem, Oregon, a harvesting operation in

26

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              TO UTILITY COMPANIES
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                           Case 19-62584-pcm11                Doc 9            Filed 08/22/19
 1   Hermiston, Oregon, and a raw processing, roasting, and packing plant in Quincy, Washington.

 2   Debtors have over 1,125 full-time employees along with up to 1,100 seasonal employees.

 3                  6.      Debtors have a diverse supplier base built on an extensive network of over

 4   220 contract growers made up of family-owned farms (145 farms in Oregon and 75 farms in

 5   Washington) spanning more than 40,000 acres. Debtors have long-term, established

 6   relationships with a global blue-chip customer base of over 1,250 customers, spanning the retail,

 7   foodservice, club, export, and industrial channels.

 8                  7.      Additional information and background regarding Debtors' history, assets,

 9   structure, operations, and business are contained in the Mar Declaration filed contemporaneously

10   herewith.

11                  8.      In connection with the operation of their business, Debtors obtain

12   telephone, electric, gas, water, and other utility services (collectively, “Utility Services”) from

13   numerous utility companies (“Utility Companies”) for vegetable and fruit processing, roasting,

14   and packing facilities, as well as corporate offices variously located in Oregon and Washington.

15   Attached hereto as Exhibit 1 is a list of substantially all the Utility Companies that provide

16   Utility Services to Debtors as of the Petition Date. The relief requested herein is requested with

17   respect to all Utility Companies providing Utility Services to Debtors and is not limited only to

18   those entities listed on Exhibit 1.

19                  9.      Pursuant to 11 U.S.C. § 366(c)(2), a Utility Company may alter, refuse, or

20   discontinue utility service to a debtor if, within 30 days after the Petition Date, a debtor does not

21   provide adequate assurance of payment for postpetition Utility Services in a form satisfactory to

22   the Utility Company. Debtors seek an order determining the appropriate form of adequate

23   assurance of future performance and thereby prohibiting any Utility Company from altering,

24   refusing, or discontinuing Utility Services absent further Court order.

25                  10.     Debtors propose to provide adequate assurance of payment in the form of

26   a one-month deposit by Debtors to the Utility Companies that request such a deposit in the initial

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 1   amount as set forth on Exhibit 1. The one-month deposits made upon request of each Utility

 2   Company shall be deemed to be adequate assurance of payment for purposes of 11 U.S.C. § 366

 3   without prejudice to the Utility Companies’ right to seek additional or alternative assurance of

 4   payment upon further request of this Court. Debtors request that any Utility Company seeking

 5   additional or alternative forms of adequate assurance be prohibited from altering, refusing, or

 6   discontinuing Utility Services pending further order of this Court.

 7                  11.     If Utility Companies are permitted to refuse or discontinue service for

 8   even a brief period, the impact on Debtors’ operations could be devastating. Such an

 9   interruption would damage supplier and customer relationships, revenue, and profits, and would

10   ultimately adversely affect Debtors’ efforts to reorganize. Moreover, such an interruption would

11   result in a diminution in value of Debtors’ assets and cause irreparable harm to Debtors’ estates.

12   Accordingly, maintaining uninterrupted Utility Services is essential to Debtors’ ability to

13   maintain their business operations and to preserve the value of their assets.

14                  12.     In determining adequate assurance, the Court is not required to give the

15   Utility Companies the equivalent of a guarantee of payment, but must only determine that the

16   utility is not subject to an unreasonable risk of nonpayment for postpetition services. In re

17   Caldor, Inc., 199 B.R. 1 (S.D.N.Y. 1996); In re Santa Clara Circuits West, Inc., 27 B.R. 680,

18   685 (Bankr. D. Utah 1982); In re George C. Frye Co., 7 B.R. 856, 858 (Bankr. D. Me. 1980).

19                  13.     The adequate assurance proposed herein, consisting of a cash deposit upon

20   request equal to one month of average service for each utility, will provide satisfactory assurance

21   of payment. Furthermore, requiring a Court order prior to the alteration, refusal, or

22   discontinuance of Utility Services by any Utility Company will protect Debtors’ business

23   operations from being disrupted in the event a Utility Company unilaterally determines the

24   proposed adequate assurance of payment is not appropriate.

25

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              TO UTILITY COMPANIES
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                           Case 19-62584-pcm11                 Doc 9            Filed 08/22/19
 1                  14.     Debtors’ proposed assurance of payment is in the best interests of Debtors

 2   and their creditors and will enable Debtors to continue to operate their business in the ordinary

 3   course.

 4                  15.     A copy of the proposed Order Determining Adequate Assurance to Utility

 5   Companies is attached hereto as Exhibit 2.

 6                  WHEREFORE, Debtors pray that this Court enter an order determining that the

 7   payment of a deposit equal to one month of average services upon request by a Utility Company

 8   in the amounts set forth on Exhibit 1 constitutes adequate assurance of payment in accordance

 9   with 11 U.S.C. § 366 unless and until further order of this Court, and prohibiting any Utility

10   Company from altering, refusing, or discontinuing Utility Services without further order of this

11   Court, or granting such other form of adequate assurance as the Court may deem necessary or

12   appropriate.

13                  DATED this 22nd day of August, 2019.

14                                                  TONKON TORP LLP
15

16                                                  By /s/ Ava L. Schoen
                                                       Albert N. Kennedy, OSB No. 821429
17                                                     Timothy J. Conway, OSB No. 851752
                                                       Michael W. Fletcher, OSB No. 010448
18                                                     Ava L. Schoen, OSB No. 044072
                                                       Attorneys for Debtors
19

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Page 5 of 5 - DEBTORS’ MOTION FOR ORDER DETERMINING ADEQUATE ASSURANCE
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                           Case 19-62584-pcm11                Doc 9            Filed 08/22/19
 EXHIBIT 1
     LIST OF UTILITIES




Case 19-62584-pcm11   Doc 9   Filed 08/22/19
   UTILITY COMPANIES THAT PROVIDE UTILITY SERVICES TO DEBTORS

NORPAC FOODS, INC.

                                                               Proposed One-
                Utility Provider               Service
                                                               Month Deposit
      AT&T Mobility                           Telephone                $4,636
      Calpine Energy Solutions               Natural Gas             $170,867
      City of Salem Utility Billing          Water/Sewer              $58,533
      City of Stayton                        Water/Sewer              $60,608
      Granite Telecommunications          Telephone/Internet           $4,678
      NW Natural                             Natural Gas              $20,078
      Pacific Power                           Electricity            $182,814
      Pacific Sanitation Inc                   Garbage                    $93
      Portland General Electric                Electric              $113,465
      Republic Service Inc                     Garbage                    $75
      Stayton Cooperative Telephone Co.       Telephone                $2,194
      Sprint                                  Telephone                  $723
      Waste Management / Republic              Garbage                 $3,893

HERMINSTON FOODS, LLC

                                                               Proposed One-
                Utility Provider               Service
                                                               Month Deposit
      CenturyLink                         Telephone/Internet             $428

QUINCY FOODS, LLC

                                                               Proposed One-
                Utility Provider               Service
                                                               Month Deposit
      Cascade Natural Gas Corporation        Natural Gas               $7,874
      City of Quincy                         Water/Sewer             $123,358
      Frontier                            Telephone/Internet           $1,277
      Grant County PUD                         Electric               $23,622
      Grant County Solid Waste                 Garbage                    $51




                    Case 19-62584-pcm11    Doc 9    Filed 08/22/19
 EXHIBIT 2
PROPOSED FORM OF ORDER




Case 19-62584-pcm11   Doc 9   Filed 08/22/19
                        UNITED STATES BANKRUPTCY COURT

                                  DISTRICT OF OREGON

In re                                                     Case No. 19-62584-pcm11

NORPAC Foods, Inc.,

                            Debtor.

In re                                                     Case No. 19-33102-pcm11

Hermiston Foods, LLC,

                            Debtor.

In re                                                     Case No. 19-33103-pcm11

Quincy Foods, LLC,                                        ORDER GRANTING DEBTORS’
                                                          MOTION FOR ORDER
                            Debtor.                       DETERMINING ADEQUATE
                                                          ASSURANCE TO UTILITY
                                                          COMPANIES
              THIS MATTER having come before the Court upon Debtor’s Motion for Order

Determining Adequate Assurance to Utility Companies (the “Motion”) [ECF No. _____], the

Court having reviewed the Motion and the Declaration of Winston Mar in Support of First Day

Pleadings and having considered the statements of counsel and the evidence adduced with

Page 1 of 3 - DEBTORS’ MOTION FOR ORDER DETERMINING ADEQUATE
              ASSURANCE TO UTILITY COMPANIES
                                            Tonkon Torp LLP
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                                             Portland, OR 97204
                                               503.221.1440
                     Case 19-62584-pcm11               Doc 9            Filed 08/22/19
respect to the Motion at a hearing before the Court (the "Hearing"); the Court having found that

(1) the Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334, (2) venue

is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409, (3) this is a core proceeding

pursuant to 28 U.S.C. § 157(b), and (4) notice of the Motion and the Hearing was sufficient

under the circumstances; and after due deliberation the Court having determined that the relief

requested in the Motion is in the best interests of Debtors, their estates, and the creditors; and

good and sufficient cause having been shown; now, therefore,

               IT IS HEREBY ORDERED that:

               1.      The Motion is GRANTED, and for each utility company that requests a

deposit, payment of a deposit equal to one month's average service constitutes adequate

assurance of payment in accordance with 11 U.S.C. § 366 unless and until further order of this

Court;

               2.      The amount of such deposits for all or most of Debtors’ utilities are set

forth on Exhibit A attached hereto, although the terms of this Order apply to all of Debtors’

utility companies, regardless of whether or not they are listed on the attached Exhibit A; and

               3.      All utility companies are hereby prohibited from altering, refusing, or

discontinuing utility service without further order of this Court; provided, however, that this

Order is without prejudice to any utility company's right to seek additional or alternative

assurance of payment upon further request of this Court.

               4.      This Order only binds those utility companies who were served with or

received actual notice of the Motion.

                                                   ###




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                                                  503.221.1440
                       Case 19-62584-pcm11                Doc 9            Filed 08/22/19
I certify that I have complied with the requirements of LBR 9021-1(a).

Presented by:

TONKON TORP LLP



By
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cc:      List of Interested Parties




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                        Case 19-62584-pcm11             Doc 9            Filed 08/22/19
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     LIST OF UTILITIES




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                                                                  Month Deposit
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HERMINSTON FOODS, LLC

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                     Utility Provider             Service
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